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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
 DATA COLLECTIVE II, L.P., DCVC
 OPPORTUNITY FUND, L.P., and DCVC                  25-mc-57
                                  Misc. Case No. ______________________
 MANAGEMENT CO, LLC,

                         Petitioners,               Related to Civil Action No. 5:21-cv-06028-
                                                    PCP, pending in the United States District
 v.                                                 Court for the Northern District of California

 BARON CAPITAL MANAGEMENT INC.,

                         Respondent.



                   PETITIONERS’ NOTICE OF MOTION TO COMPEL


       PLEASE TAKE NOTICE that upon the annexed Declaration of Zaneta J. Kim, dated

February 7, 2025, and the exhibits attached thereto; the accompanying Memorandum of Law,

dated February 7, 2025, the undersigned will move this Court on behalf of Petitioners Data

Collective II, L.P., DCVC Opportunity Fund, L.P., and DCVC Management Co, LLC, at the

United States Courthouse for the Southern District of New York, located at 500 Pearl Street, New

York, New York, at a time set by the Court, for an order, pursuant to Rule 45 of the Federal Rules

of Civil Procedure, to compel Respondent Baron Capital Management Inc. to complete its

production of documents and appear for a deposition.


Dated: February 7, 2025                      Respectfully submitted,

                                             GIBSON, DUNN & CRUTCHER LLP

                                             /s/ Mary Beth Maloney
                                             Mary Beth Maloney
                                             200 Park Avenue, 47th Floor
                                             New York, NY 10166-0193
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                            Attorney for Petitioners Data Collective II, L.P.,
                            DCVC Opportunity Fund, L.P., and DCVC
                            Management Co, LLC




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